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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

LISA PRITCHARD,

       Plaintiff,
v.                                                  Case No. 8:16-cv-1049-EAK-TGW

KOHL’S DEPARTMENT STORES, INC.,

      Defendant.
____________________________________/

                          NOTICE OF PENDING RESOLUTION

       Pursuant to Local Rule 3.08(a), this case has been resolved. Upon execution of the proper
documents, the parties will file the appropriate dismissal documents with the Court.

                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 23rd day of August, 2016, I electronically filed the
foregoing with the Clerk of the Court by using the CM/ECF system to all parties of record

                                             Respectfully submitted,

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